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                                                                            EXHIBIT

                                                                                                       2




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                          (NORTHERN DIVISION)

DOREEN HENRY                              *
179 Ian Street, Cleaver Road
Arima, Trinidad and Tobago, West Indies   *

                  Plaintiff,              *

and                                       *

ROGER KERR                                 *
14 Apple Blossom
St. Clair Gardens                          *
Trincity, Trinidad and Tobago, West Indies
                                           *
                   Plaintiffs,
                                           *   CIVIL NO.: 1:23-cv-1285-SAG
v.                                         *                                 Formatted: Line spacing: single
                                           *
TERRANCE HALL                              *
7621 Wilhelm Avenue                        *
Baltimore, MD 21237                        *   CIVIL NO.: 1:23-cv-1285

                                          *
and
                                          *
and                                       *

LISA HALL                                 *
7621 Wilhelm Avenue                       *
Baltimore, MD 21237                       *
                                          *
                  Defendants.             *

            *     *      *      *   *     *    *    *     *     *        *

                                          *
            *     *      *      *   *     *    *    *     *     *        *

                         FIRST AMENDED COMPLAINT
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        PlaintiffPlaintiffs Doreen Henry (“Plaintiff” or “Ms. Henry”) and Roger Kerr (“Mr. Kerr”)

(collectively, “Plaintiffs”), by and through hertheir undersigned counsel, Jonathan P. Kagan,

Michael J. Marinello, Veronica J. Mina, and Kagan Stern Marinello & Beard, LLC, hereby files

this First Amended Complaint against Defendants Terrance Hall (“Mr. Hall”) and Lisa Hall (“Mrs.

Hall”) (collectively, “Defendants”). In support, Plaintiff statesPlaintiffs state as follows:

                                          THE PARTIES

        1.     Plaintiff Ms. Henry is a citizen of Trinidad and Tobago who resides in Arima,

Trinidad and Tobago.

        2.     Plaintiff Mr. Kerr is a citizen of Trinidad and Tobago who resides in Trincity,

Trinidad and Tobago.

        2.3.   Defendant Mr. Hall is a citizen of Maryland who resides in Baltimore County,

Maryland.

        3.4.   Defendant Mrs. Hall is the wife of Mr. Hall and is a citizen of Maryland who resides

in Baltimore County, Maryland.

                                 JURISDICTION AND VENUE

        4.5.   At all times relevant herein, the facts and circumstances complained of herein all

occurred in Baltimore City, Maryland.

        5.6.   This Court has diversity jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

1332.

        6.7.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) as Defendants Mr.

Hall and Mrs. Hall are residents of Baltimore County, Maryland. Venue is also proper in this

Court pursuant to 28 U.S.C. § 1391(b)(2) as a substantial part of the events giving rise to the claims

set forth in this Complaint occurred in Baltimore City, Maryland.



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                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

      7.8.     On or about November 21, 2019, Elvira Hall (“Elvira” or “Decedent”), died in

Baltimore and she was survived by three children: (1) Plaintiff Ms. Henry; (2) Plaintiff Roger Kerr

(“Mr. Kerr”); and (3) Defendant Mr. Hall. Ms. Henry, Mr. Kerr, and Mr. Hall all had different

fathers. Decedent was never married and did not have a surviving husband at the time of her death.

Decedent died without a will. Plaintiff and Mr. KerrPlaintiffs reside in Trinidad and Tobago while

Defendant Mr. Hall resides in Baltimore County, Maryland with his wife, Defendant Mrs. Hall.

      8.9.     On or about December 13, 2019, Mr. Hall, with the assistance of Mrs. Hall, filed a

Regular Estate Petition for Administration of Elvira’s Estate (“Estate Petition”) through the

Register of Wills and Orphans’ Court for Baltimore City, Maryland (hereinafter, “Orphans’

Court”) (Estate No. 193894). Mr. Hall reported that Decedent died without a will and requested

he be appointed personal representative of his mother’s Estate.

      9.10.    Despite obviously knowing of his own two siblings (PlaintiffPlaintiffs Ms. Henry

and Mr. Kerr), both of whom were direct lineal descendants of Elvira, Mr. Hall (and his wife Mrs.

Hall) intentionally concealed this material fact from the Orphans’ Court and, instead, fraudulently

stated that he was entitled to the priority of appointment as personal representative of Elvira’s

Estate because he was the “son and only heir” of Elvira. See Exhibit 1 (Estate Petition filed

December 13, 2019). Mr. Hall and Mrs. Hall intentionally omitted from the Estate Petition that

Decedent had another daughter (Plaintiff Ms. Henry) and another son (Plaintiff Mr. Kerr), and did

not list them as Interested Parties who would receive all notices and filings in the Estate.

      10.11. In the First and Final Administration Account of Terrance P. Hall, Personal

Representative for the Estate of Elvira Hall (“First and Final Administration Account”), Mr. Hall

(and his wife Mrs. Hall) fraudulently concealed that Elvira had two additional surviving heirs who



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were interested parties to the Estate Petition “under the penalties of perjury that the contents of the

foregoing document are true and correct to the best of my knowledge, information and belief.”

See Exhibit 2 (First and Final Administration Account of Terrance P. Hall filed August 14, 2020).

       11.12. Despite alleging in the First and Final Administration Account under the penalties

of perjury that “notice ha[d] been given to all interested parties,” Mr. Hall and Mrs. Hall gave no

such notice of the Estate Petition to Plaintiff or to Mr. KerrPlaintiffs since he never listed them as

interested parties as he was required to do. See Ex. 2.

       12.13. Instead, Mr. Hall communicated with Plaintiff and Mr. KerrPlaintiffs on several

occasions after he and Mrs. Hall had filed the Estate Petition in the Orphans’ Court, and

intentionally concealed from them the filing of the Estate Petition and his efforts to inherit the

entire Estate of Elvira.

       13.14. In furtherance of Defendants’ fraudulent conduct, Defendant Mr. Hall falsely

communicated to Plaintiff Ms. Henry and Plaintiff’sPlaintiffs’ immediate family that “Elvira died

penniless.”

       14.15. Upon information and belief, the Estate Petition filed with the Orphans’ Court was

completed and signed by Mrs. Hall, although the documents reflect the name of “Terrance P. Hall.”

Mrs. Hall also assisted Mr. Hall in completing the Estate Petition by including her phone number

and contact information within the Estate Petition.

       15.16. At the time of Elvira’s death, the total estate to be accounted for was valued at

$170,225.83, as reported by Mr. Hall and Mrs. Hall.

       16.17. On or about September 8, 2020, the entire sum of $170,225.83 was distributed to

Terrance P. Hall following the Orphans Court’s approval of the First and Final Administration




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Account, which listed Mr. Hall as Elvira’s “son and sole heir.” See Exhibit 3 (Order of Court

Approving First and Final Administration Account dated September 8, 2020).1

      17.18. After the Estate Petition was approved, Mr. Hall remained in contact with his

siblings, PlaintiffMs. Henry and Mr. Kerr, and he continued to intentionally conceal from them

that he and Mrs. Hall had filed the Estate Petition in the Orphans’ Court and, further, intentionally

concealed from them that he had been distributed the entire Estate of Elvira in the sum of

$170,225.83 as her “son and sole heir.”

      19.      For example, after Defendants received the distribution from the Estate of Elvira,

Mr. Hall communicated to Mr. Kerr that he and Mrs. Hall purchased a new home, purchased a

new car, traveled on luxurious vacations, and paid off their daughter’s student loans in full. Upon

information and belief, Mr. and Mrs. Hall used all or substantially of the funds received as a

distribution from Elvira’s Estate towards these personal benefits.

      18.20. During the time when Mr. Hall filed the Estate Petition, and immediately after its

approval, Defendants Mr. and Mrs. Hall resided at 7908 Wallace Road, Baltimore, Maryland

21222 in Baltimore County, Maryland (“7908 Wallace Road”).

      19.21. Thereafter, on or about March 6, 2023, Mr. and Mrs. Hall sold the 7908 Wallace

Road property for approximately $199,099.00. See Exhibit 4 (7908 Wallace Road Deed).

      20.22. The next day, on or about March 7, 2023, Mr. and Mrs. Hall purchased the real

property located at 7621 Wilhelm Avenue, Baltimore, Maryland 21237 as tenants by the entirety

for approximately $350,000.00 (“7621 Wilhelm Ave.”). See Exhibit 5 (7621 Wilhelm Ave. Deed).




1
        Pursuant to Maryland Estates & Trusts Article 3-103, if Decedent died without a will and
no surviving husband, the assets of the estate are to be divided equally amongst all of Decedent’s
lineal descendants (surviving children). MD. CODE ANN., EST. & TRUSTS § 3-103.
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Upon information and belief, Mr. and Mrs. Hall used all or substantially all of the funds received

as a distribution from Elvira’s Estate towards the purchase of the 7621 Wilhelm Avenue property.

       23.      In November 2023, Mr. Kerr visited Defendants at their new home (7621 Wilhelm

Avenue) and generally inquired about Elvira’s estate, to which Mr. Hall evaded and, instead, acted

with ignorance and portrayed himself as uninterested in such matters. During this visit and in

subsequent communications thereafter, Mrs. Hall would hover over Mr. Hall to prevent him from

communicating openly and freely regarding Elvira’s Estate.

       24.      Moreover, on two separate occasions, prior to and after Elvira’s funeral, Mr. Kerr

accompanied Mr. Hall to a Bank of America branch where Elvira maintained a portion of her

funds. A representative from the bank communicated to Mr. Kerr and Mr. Hall that Elvira

possessed a considerable sum of money in her account. Neither Ms. Henry nor Mr. Kerr have ever

accessed or received any distribution from such an account.

       25.      After Elvira’s funeral, Defendants Mr. and Mrs. Hall obtained Elvira’s personal

property, including jewelry, cash, and other personal affects, and never communicated to Ms.

Henry or Mr. Kerr regarding the items they retrieved, nor did they inventory such items or

otherwise include them in the Estate Petition and the First and Final Administration Account.

       21.26. In or about April 2023, PlaintiffMs. Henry discovered that Defendants Mr. and Mrs.

Hall had fraudulently filed the Estate Petition for Probate of Elvira Hall by naming himself as

Elvira’s “son and only heir” and intentionally concealing the existence of Plaintiff and Mr. Kerr

Plaintiffs as additional heirs of Elvira.

       22.27. Upon discovering Defendants’ fraudulent conduct, PlaintiffMs. Henry confronted

Defendants, both of whom refused to re-open and amend the Estate Petition of Elvira. Instead,




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Defendant Mr. Hall acknowledged receipt of the entire Estate of Elvira, and admitted that he and

Defendant Mrs. Hall intentionally omitted Plaintiff and Mr. KerrPlaintiffs from the Estate Petition.

       28.      In early 2024, upon communicating with Ms. Henry, Mr. Kerr discovered that

Defendants Mr. and Mrs. Hall had fraudulently filed the Estate Petition for Probate of Elvira Hall

by naming himself as Elvira’s “son and only heir” and intentionally concealing the existence of

Plaintiffs as additional heirs of Elvira.

       29.      As a result of Defendants’ misconduct, Plaintiffs have been betrayed, deceived, and

suffer extreme pain and emotional distress.

       23.30. Defendants have refused to reopen the estateEstate and properly distribute the funds

due and owing to Plaintiff and Mr. Kerr Plaintiffs as direct heirs of Elvira.

       24.31. To date, Plaintiff hasPlaintiffs have not received any funds or distribution from the

Estate of Elvira.

       25.32. As a result of Defendants’ fraudulent conduct and concealment, and Defendant

Mrs. Hall’s conspiracy to aid her husband, Mr. Hall, in such fraudulent conduct, Plaintiff

hasPlaintiffs have been harmed and seeksseek monetary relief, including compensatory and

punitive damages, interest, reasonable attorneys’ fees and costs.

                                              COUNT I
                                                FRAUD
                                        (Against All Defendants)

       26.33. Plaintiff incorporatesPlaintiffs incorporate and adoptsadopt all preceding

Paragraphs as if fully set forth herein.

       27.34. Defendants falsely filed the Estate Petition and opened the Estate of Elvira claiming

that Mr. Hall was the “son and only heir” of Elvira and failed to identify Plaintiff and Mr.

KerrPlaintiffs as interested parties.



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       28.35. Defendants falsely communicated to PlaintiffMs. Henry and Plaintiff’sPlaintiffs’

immediate family that “Elvira died penniless” and failed to disclose to PlaintiffPlaintiffs that they

had filed an Estate Petition for Elvira.

       29.36. Defendants failed to disclose to PlaintiffPlaintiffs that the filed Estate Petition

falsely listed Mr. Hall as Elvira’s “son and only heir.”

       30.37. Defendants failed to disclose to PlaintiffPlaintiffs that Defendant Mr. Hall had

received $170,225.83 as a distribution from the Estate of Elvira.

       31.38. Defendants’ failure to disclose the Estate Petition and its contents along with

Elvira’s true assets constituted a false representation to PlaintiffPlaintiffs and a failure to disclose

material facts.

       32.39. The falsity was either known to Defendants, or the misrepresentation was made

with such a reckless indifference to the truth such that Defendants had actual knowledge of its

falsity.

       33.40. The representations and concealment by Defendants regarding the Estate of Elvira,

were false, inaccurate, and/or misleading and concealed the true and accurate material facts from

the Orphans’ Court and from PlaintiffPlaintiffs.

       34.41. The foregoing concealment and omission constituted a failure by Defendant Mr.

Hall to disclose material facts, which he had a duty to disclose, truthfully and accurately.

       35.42. The foregoing misrepresentations and concealment were made by Defendants for

the purpose of defrauding the Estate of Elvira and PlaintiffPlaintiffs by inducing the Orphans’

Court to distribute the entire Estate of Elvira to Defendant Mr. Hall and precluding

PlaintiffPlaintiffs from protecting and exercising hertheir rights and interests as a surviving

heirheirs to Elvira.



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       36.43. Defendants made the foregoing misrepresentations and concealment intentionally,

knowingly, willfully, and deliberately in order to induce the Orphans’ Court to distribute the entire

Estate of Elvira to Defendant Mr. Hall and preclude PlaintiffPlaintiffs from protecting and

exercising hertheir rights and interests as a surviving heirheirs to Elvira.

       37.44. The foregoing misrepresentations and concealment were done with the intent to

mislead the Orphans’ Court and PlaintiffPlaintiffs.

       38.45. The foregoing misrepresentations and concealment by Defendants were material to

the Orphans’ Court’s distribution of the Estate of Elvira to Mr. Hall and to the lack of any efforts

by PlaintiffPlaintiffs to protect and exercise hertheir rights and interests as a surviving heirheirs to

Elvira.

       39.46. The Orphans’ Court and PlaintiffPlaintiffs reasonably and justifiably relied on

Defendants’ misrepresentations, conduct, and concealment, resulting in the distribution of the

entire Estate of Elvira to Defendant Mr. Hall.

       40.47. Defendants knew that the Orphans’ Court and PlaintiffPlaintiffs would rely, and

were relying, on the representations, conduct, and concealment as they claimed Mr. Hall to be the

only heir of Elvira under the penalties of perjury.

       41.48. As a result of Defendants’ misrepresentations and fraudulent concealment, Plaintiff

hasPlaintiffs have suffered, and will continue to suffer, damages.

       42.49. Defendants’ misrepresentations and fraudulent concealment were unlawful,

intentional, made with malice, and intended to cause damage and loss to PlaintiffPlaintiffs.

       WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest this Honorable Court enter

judgment in Plaintiff’sPlaintiffs’ favor against Defendants Mr. and Mrs. Hall, award damages in

excess of $75,000.00, punitive damages, to be determined at trial, plus reasonable attorneys’ fees,



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pre- and post-judgment interest, costs, and all such other and further relief that this Court deems

just and proper.

                                           COUNT II
                                    CONSTRUCTIVE TRUST
                                     (Against All Defendants)

      43.50. Plaintiff incorporatesPlaintiffs incorporate and adoptsadopt all preceding

Paragraphs as if fully set forth herein.

      44.51. “Constructive trust is a remedy employed by a court of equity to convert the holder

of legal title to property into a trustee for one who in good conscience should reap the benefits of

the possession of said property.” Wimmer v. Wimmer, 287 Md. 663, 668 (1980). The remedy of

constructive trust applies where property has been “acquired by fraud, misrepresentation, or other

improper method, or where the circumstances render it inequitable for the party holding the title

to retain it. Ordinarily, such factors must be shown by clear and convincing evidence.” Porter v.

Zuromski, 195 Md. App. 361, 368-69 (2010).

      45.52. On or about September 8, 2020, Defendant Mr. Hall received $170,225.83 as a

distribution from the Estate of Elvira.

      46.53. On or about March 7, 2023, upon information and belief, Defendants used all or

substantially all of the funds received as a distribution to Mr. Hall from Elvira’s Estate towards

the purchase of the 7621 Wilhelm Ave. property.

      47.54. Defendants acquired the 7621 Wilhelm Ave. property through an improper method

by using the funds fraudulently received from the Estate of Elvira to purchase the property.

      48.55. As a result of Defendants’ misrepresentations, fraudulent concealment, and

conduct, Plaintiff hasPlaintiffs have suffered, and will continue to suffer, actual and proximate

damages.



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      WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest this Honorable Court enter

judgment in Plaintiff’sPlaintiffs’ favor against Defendants, impose a constructive trust on all

property transferred to or purchased by Defendants Mr. Hall or Mrs. Hall through or with the use

of funds from the Estate of Elvira, trace all property from the Estate of Elvira wrongfully disposed

of and recover the property from Defendants, award damages in excess of $75,000.00, punitive

damages, to be determined at trial, plus reasonable attorneys’ fees, pre- and post-judgment interest,

costs, and all such other and further relief that this Court deems just and proper.

                                          COUNT III
                               BREACH OF FIDUCIARY DUTY
                                (Against Defendant Terrance Hall)

      49.56. Plaintiff incorporatesPlaintiffs incorporate and adoptsadopt all preceding

Paragraphs as if fully set forth herein.

      50.57. On or about December 13, 2019, Defendant Mr. Hall was appointed as Personal

Representative of the Estate of Elvira.

      51.58. In his capacity as Personal Representative, Mr. Hall owed fiduciary duties to the

Estate of Elvira and to PlaintiffPlaintiffs, as a surviving heirheirs and beneficiarybeneficiaries

thereof, including, but not limited to, notifying herthem of the filing of the Estate Petition and

properly protecting and distributing Plaintiff’sPlaintiffs’ share of the Estate to herthem.

      52.59. Defendant Mr. Hall breached his fiduciary duties to PlaintiffPlaintiffs by acting for

his own personal gain when he concealed from PlaintiffPlaintiffs the filing of the Estate Petition,

the distribution he received from the Estate, and upon information and belief, his purchase of the

7621 Wilhelm Ave. property using the distribution he fraudulently received from the Estate, his

purchase of a new car using the distribution he fraudulently received from the Estate, his luxurious

vacations using the distribution he fraudulently received from the Estate, his payments for his



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daughter’s student loans using the distribution he fraudulently received from the Estate, and falsely

representing to Plaintiff that “Elvira died penniless.”

      53.60. Defendant Mr. Hall further breached his fiduciary duty by claiming his entitlement

to the entire distribution from the Estate of Elvira and explaining to PlaintiffPlaintiffs that she

wasthey were not entitled to any distribution because shethey lived in Trinidad and Tobago.

      54.61. As a direct and proximate result of Defendant Mr. Hall’s breaches of his fiduciary

duties, Plaintiff hasPlaintiffs have suffered, and will continue to suffer, damages.

      WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest this Honorable Court enter

judgment in Plaintiff’sPlaintiffs’ favor against Defendants Mr. Hall, award damages in excess of

$75,000.00, punitive damages, to be determined at trial, plus reasonable attorneys’ fees, pre- and

post-judgment interest, costs, and all such other and further relief that this Court deems just and

proper.




                                            COUNT IV
                                      CIVIL CONSPIRACY
                                      (Against All Defendants)

      55.62. Plaintiff incorporatesPlaintiffs incorporate and adoptsadopt all preceding

Paragraphs as if fully set forth herein.

      56.63. Defendants conspired to fraudulently complete and execute the Estate Petition of

Elvira to the Orphans’ Court so that all funds and property from the Estate of Elvira were

distributed to Defendant Mr. Hall.




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      57.64. In support of this conspiracy, upon information and belief, the Estate Petition filed

with the Orphans’ Court was completed and signed by Mrs. Hall, although said documents reflect

the name of “Terrance P. Hall.” Mrs. Hall also assisted Mr. Hall in completing the Estate Petition

by including her phone number and contact information within the Estate Petition.

      58.65. Defendant Mrs. Hall had full knowledge of Mr. Hall’s fraudulent conduct by

explaining to Plaintiff’sPlaintiffs’ immediate family in or about April 2023 that the Orphans’ Court

had given her and Mr. Hall certain instructions when completing the Estate Petition of Elvira.

      59.66. Defendants have benefited economically and will continue to benefit economically

as a result of their fraudulent conduct.

      60.67. Defendants have planned, schemed, and otherwise conspired to deceive Plaintiff

and her brother, Mr. Kerr,Plaintiffs regarding the Estate of Elvira and, in turn, to commit fraud on

the Orphans’ Court, the Estate of Elvira, and PlaintiffPlaintiffs.

      61.68. As a result of Defendants Mr. and Mrs. Hall’s civil conspiracy, Plaintiff

hasPlaintiffs have suffered, and will continue to suffer, damages.

      WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest this Honorable Court enter

judgment in Plaintiff’sPlaintiffs’ favor against Defendants Mr. and Mrs. Hall, award damages in

excess of $75,000.00, punitive damages, to be determined at trial, plus reasonable attorneys’ fees,

pre- and post-judgment interest, costs, and all such other and further relief that this Court deems

just and proper.

                                            COUNT V
                                    AIDING AND ABETTING
                                   (Against Defendant Lisa Hall)

      62.69. Plaintiff incorporatesPlaintiffs incorporate and adoptsadopt all preceding

Paragraphs as if fully set forth herein.



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      63.70. Upon information and belief, Defendant Mrs. Hall facilitated, encouraged,

provided support, and otherwise aided and abetted Defendant Mr. Hall’s fraudulent conduct before

the Orphans’ Court, the Estate of Elvira, and PlaintiffPlaintiffs by completing and signing the

Estate Petition and including her phone number and contact information within the Estate Petition.

      64.71. As a result of Defendant Mrs. Hall’s conduct in aiding and abetting Defendant Mr.

Hall’s fraudulent conduct, Plaintiff hasPlaintiffs have suffered, and will continue to suffer,

damages.

      WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest this Honorable Court enter

judgment in Plaintiff’sPlaintiffs’ favor against Defendant Mrs. Hall, award damages in excess of

$75,000.00, punitive damages, to be determined at trial, plus reasonable attorneys’ fees, pre- and

post-judgment interest, costs, and all such other and further relief that this Court deems just and

proper.



Dated:Date: May 16, 2024May 14, 2024                        Respectfully submitted,


                                                                    /s/ Jonathan P. Kagan
                                                                    Jonathan P. Kagan
                                      (D. Md. Bar No. 23181)                                          Formatted: Justified
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                                             kagan@kaganstern.com
                                                                                                      Formatted: Font color: Hyperlink, Italian (Italy)

                                             /s/ Veronica J. Mina                                     Formatted: Font color: Hyperlink, Italian (Italy)
                                      Veronica J. Mina
                                              (D. Md. Bar No. 30472)                                  Formatted: Spanish (Spain)
                                             mina@kaganstern.com                                      Formatted: Indent: Left: 2.5"
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                                             /s/ Michael J. Marinello           ______
                                             Michael J. Marinello (D. Md. Bar No. 18490)              Formatted: Font color: Hyperlink, Italian (Italy)
                                             marinello@kaganstern.com                                 Formatted: Font color: Black
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                                              KAGAN STERN MARINELLO & BEARD, LLC                   Formatted: Indent: Left: 2.5"
                                              238 West Street
                                              Annapolis, Maryland 21401
                                              Phone:        (410) 216-7900
                                              Facsimile:    (410) 705-0836

                                              Counsel for Plaintiff                                Formatted: Indent: Left: 2.5"
                                              Doreen Henry




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of May, 2024, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF filing system and served via email

and first-class mail, postage prepaid, to the following:

                               Mr. Terrance Hall
                               Mrs. Lisa Hall
                               7621 Wilhelm Avenue
                               Baltimore, MD 21237
                               Email: Ross_c1933@yahoo.com

                               Pro-Se Defendants



                                              /s/ Veronica J. Mina
                                              Veronica J. Mina (D. Md. Bar No. 30472)




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